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                               IN THE UNITED STATE~WnS'OUlfn(l(i)ta~p
                                  FOR THE DISTRICT OF MARYLAND

       CHALEE DENNIS, Personal
                                                   ; zooa FEB I 2 P 3: 5 J
       Representative of the Estate ofthe Late
       WEBSTER DENNIS, JR., Deceased
       2324 East Old Shakopee Road
       Bloomingtown, Minnesota 55425

              and

       CHALEE DENNIS, Individually
       2324 East Old Shakopee Road
       Bloomingtown, Minnesota 55425

                      Plaintiffs

              v.                                    Civil Action No.:

       STEVEN E. HEARNE, M.D.
       106 Milford Street, Suite 605                                     08CV038~
       Salisbury, Maryland 21804

              and

       DELMARVA HEART, LLC
       106 Milford Street, Suite 605
       Salisbury, Maryland 21804
               Serve on Resident Agent:
               Jeffrey H. Etherton, M.D.
               106 Milford Street, Suite 605
               Salisbury, Maryland 21804

              and

       MICHAEL P. BUCHNESS, M.D.
       201 Pine Bluff Road, Suite 25
       Salisbury, Maryland 21801

              and

       CV SURGICAL ASSOCIATES, P .A;
       201 Pine Bluff Road, Suite 25
       Salisbury, Maryland 21801
,.;!    Case 1:08-cv-00385-JFM Document 1 Filed 02/12/08 Page 2 of 11



              Serve on Resident Agent:
              Nevins W. Todd, Jr.
              201 Pine Bluff Road, Suite 25
              Salisbury, Maryland 21801

              and

       PENINSULA REGIONAL
       MEDICAL CENTER
       South Division & Locust Streets
       Salisbury, Maryland 21801
               Serve on Resident Agent:
               Daniel J. Mulvanny
               100 East Carroll Street
               Salisbury, Maryland 21801

                     Defendants




                                                  COMPLAINT

                                                   COUNT I

              COMES NOW the Plaintiff, Chalee Dennis, Personal Representative of the Estate of the

       Late Webster Dennis, Jr., Deceased, by his attorneys, Jonathan Schocher, James D. Cardea, and

       Schochor, Federico and Staton, P.A. and sues, Steven E. Hearne, M.D., Delmarva Heart, LLC,

       Michael P. Buchness, M.D., CV Surgical Associates, P.A., and Peninsula Regional Medical

       Center, Defendants:

                                                   PARTIES

              1. .    The Plaintiff, Cha1ee Dennis, Individually and as Personal Representative of the

       Estate of the Late Webster Dennis, Jr., Deceased is over twenty-one (21) years of age, and is a

       citizen of the United States of America.    The Plaintiff maintains this action personally and as

       Personal Representative of the Estate of the Late Webster Dennis, Jr., Deceased.




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         2.       The Defendants Steven E. Hearne, M.D. and Michael P. Buchness, M.'D., are

citizens of the United States of America and citizens and domiciliary of the State of Maryland,

and are over twenty one (21) years of age.

         3.       The Defendants,      Delmarva    Heart, LLC, CV Surgical Associates,           P.A., and

Peninsula Regional Medical Ce~ter, own and operate offices in Salisbury, Maryland.                  These

medical facilities are the location of the tortious' acts complained of.

         4.       At all times referred to herein, the Plaintiffs      Decedent, Webster Dennis, Jr.,

received medical and/or surgical care at the Peninsula Regional Medical Center in Salisbury,

Maryland which, as referenced hereinabove.

         5.       The Plaintiffs    Decedent,     Webster Dennis, Jr., Deceased,      suffered unending

physical pain, emotional anguish as well as fear and anxiety ultimately culminating in his tragic

and untimely demise on March 17, 2007, as the direct and proximate result of negligence on the

part of the Defendants and each of them,. acting within the scope of their authority.

                                     JURISDICTION AND VENUE

         6.       The jurisdiction and venue of this Honorable Court are based upon          S   28 U.S.C.

S   1346(b) and   S 2671   et. seq., including the Federal Tort Claims Act. It is asserted that all of the

tortious acts and omissions complained of herein occurred at the Peninsula Regional Medical

Center in Salisbury, Maryland. At all times referred to herein, the Defendant Hearne acted for

himself and as a duly authorized agent and/or employee of the Defendant Delmarva Heart, LLC

and/or the Defendant Peninsula Regional Medical Center (hereinafter referred to as "Hospital"),

acting within the scope of his authority. At all times referred to herein, the Defendant Buchness

acted for himself and as a duly authorized agent and/or employee of the Defendant CV Surgical

Associates,   P.A. and/or the Defendant         Hospital, acting within the scope of his authority.




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Jurisdiction   is conferred upon this Honorable Court based upon diversity of a citizenship

pursuant to 28 U.S.c.,    Section 1332, and venue is conferred by virtue of 28 U.S.C., Section

1391, and the amount in controversy exceeds the sum of Fifty Thousand Dollars ($50,000.00),

exclusive of interest and costs.

        7.      This Honorable     Court has jurisdiction   over the subject matter based upon

diversity of a citizenship pursuant to 28 U.S.C., Section 1332, and venue is conferred by virtue

of28 U.S.C., Section 1391.

                                             COUNT I

        8.      At all times of which the Plaintiff complains,      the Defendants    Hearne and

Buchness represented to the Plaintiffs Decedent and the public that they possessed the degree of

skill, knowledge and ability possessed by reasonably competent medical practitioners, practicing

under the same or similar circumstances as those involving the Plaintiffs Decedent.

        9.      The Plaintiff alleges that the Defendants Hearne and Buchness herein, including

duly authorized agents and/or employees of the Defendant Hospital, owed to the Plaintiffs

Decedent the duty to exercise the degree of care, skill and judgment expected of a competent

medical practitioner   acting in the same or similar circumstances,    which duty included the

performance of adequate and proper diagnostic tests and procedures to determine the nature and

severity of the Plaintiffs Decedent's condition, careful diagnosis of such condition, employment

of appropriate procedures, surgery and/or treatment to correct such conditions without injury

upon the Plaintiffs Decedent, continuous evaluation of the Plaintiffs Decedent's condition and

the effects of such treatment, and adjustment of the course of treatment in response to such

ongoing surveillance and evaluation -- all of which these Defendants failed to do.




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        10.     The Defendants Hearne and Buchness were negligent in that they failed to employ

appropriate   treatment,   surgery, tests and/or procedures,   failed to carefully and thoroughly

evaluate the Plaintiffs Decedent's condition, failed to properly and appropriately diagnose the

Plaintiffs Decedent's condition, failed to thoroughly evaluate the effects and results of any tests

and/or procedures performed, failed to properly evaluate the effects of chosen treatment, failed to

adjust the Plaintiffs Decedent's treatment in response to appropriate evaluation of the effects of

treatment, failed to properly monitor the course of the Plaintiffs         Decedent's   condition and

treatment, failed to employ adequate and proper diagnostic procedures and/or tests to determine

the nature and extent of the Plaintiffs Decedent's condition, and were otherwise negligent.

        11.     The Plaintiff alleges that the Defendants Delmarva Heart, LLC and CV Surgical

Associates, P.A., through their agents, servants and employees, owed to the Plaintiffs Decedent

a duty to exercise a degree of care, skill and judgment         expected of a competent medical

corporation acting in the same or similar circumstances, which duty included the performance of

adequate and proper diagnostic tests and procedures to determine the nature and severity of the

Plaintiffs Decedent's condition, careful diagnosis of such condition, employment of appropriate

procedures, tests, surgery and/or treatment to correct such conditions without inflicting injury

upon the Plaintiffs Decedent, continuous evaluation of the Plaintiffs Decedent's condition and

effects of such treatment, 'and the adjustment of the course of treatment in response to ongoing

surveillance and evaluation -- all of which the Defendants failed to do.

        12.     The Defendants Delmarva Heart, LLC and CV Surgical Associates, P.A., through

their agents, servants and/or employees, were negligent in that they failed to employ appropriate

treatment, surgery and/or procedures, failed to carefully and thoroughly evaluate the Plaintiffs

Decedent's condition, failed to thoroughly evaluate the effects and results of any tests, treatment




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and/or procedures performed, failed to adjust the Plaintiffs Decedent's treatment in response to

appropriate evaluation of the effects of treatment, failed to properly monitor the course of the

Plaintiffs Decedent's condition and treatment, failed to employ adequate and proper diagnostic

procedures and/or tests to determine the nature and extent of the Plaintiffs Decedent's condition ,

failed to diagnose the Plaintiffs Decedent's condition and were otherwise negligent.

         13.      The Plaintiff alleges that the Defendant Peninsula Regional Medical Center

(hereinafter referred to as "Hospital"), through its agents, servants and employees, owed to the

Plaintiffs     Decedent a duty to exercise a degree of care, skill and judgment expected of a

competent medical corporation acting in the same or similar circumstances, which duty included

the performance of adequate and proper diagnostic tests and procedures to determine the nature

and severity of the Plaintiffs      Decedent's   condition,   careful diagnosis   of such condition,

employment of appropriate procedures, tests, surgery and/or treatment to correct such conditions

without inflicting injury upon the Plaintiffs Decedent, continuous evaluation of the Plaintiffs

Decedent's condition and effects of such treatment, and the adjustment of the course of treatment

in response to ongoing surveillance and evaluation -- all of which the Defendant failed to do.

         14.      The Defendant Hospital, through its agents, servants and/or employees, was

negligent in that it failed to employ appropriate treatment, surgery and/or procedures, failed to

carefully and thoroughly      evaluate the Plaintiffs   Decedent's   condition, failed to thoroughly

evaluate the effects and results of any tests, treatment and/or procedures performed, failed to

adjust the Plaintiffs Decedent's treatment in response to appropriate evaluation of the effects of

treatment, failed to properly monitor the course of the Plaintiffs        Decedent's   condition and

treatment, failed to employ adequate and proper diagnostic procedures and/or tests to determine

the nature and extent of the Plaintiffs Decedent's       condition, failed to diagnose the Plaintiffs




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Decedent's condition and was otherwise negligent. At all times referred to herein, the Defendant

Hearne acted for himself and as a duly authorized agent and/or employee of the Defendant

Delmarva Heart, LLC and/or the Defendant Hospital, acting within the scope of his authority. At

all times referred to herein, the Defendant Buchness acted for himself and as a duly authorized

agent and/or employee of the Defendant CV Surgical Associates, P.A. and/or the Defendant

Hospital, acting within the scope of his authority.

        15.      As a direct and proximate result of the negligence of these Defendants and each of

them, the Plaintiffs Decedent suffered unending physical pain, emotional anguish as well as fear

and anxiety, ultimately culminating in his tragic and untimely demise on March 17, 2007.

        16.      On March 10, 2007, the Plaintiffs    Decedent, Webster Dennis, Jr., at age 57,

presented to a hospital emergency department with complaints of back pain in addition to upper

quadrant pain, nausea and vomiting.     An abdominal CT scan revealed the presence of a double

lumen in the aorta. A chest CT scan then confirmed the diagnosis of an aortic dissection. As a

result, the Plaintiffs Decedent was transferred to the Defendant Hospital for definitive care and

treatment.

        17.      On that same day, at approximately 5:10 p.m., the Plaintiffs Decedent arrived at

the Defendant Hospital and was evaluated by the Defendant Buchness, a cardiothoracic surgeon.

At all times referred to herein, the Defendant Buchness held himself out to be an expert in

cardiothoracic surgery as well as the diagnosis and treatment of the aortic dissection from which

the Plaintiffs   Decedent suffered.    The Defendant Buchness confirmed the diagnosis in the

thoracic and abdominal aorta and admitted the Plaintiffs Decedent to the Intensive Care Unit

(lCU) under the care of the Defendant         Hearne -- a cardiologist.    The plan was medical

management of the Plaintiffs Decedent with beta blockers, sedatives and/or other medications, if




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possible. It is alleged that the standards of care permit the treatment of such an aortic dissection

medically if, and only if, it is possible to do so without surgical intervention.   It is alleged that the

standards of care require the highest form of surveillance to be sure that the dissection does not

progress, making surgical intervention is impossible.

        18.     It is asserted that the medical management of the Plaintiffs Decedent proceeded

uneventfully until 3:00 a.m. on March 17, 2007.         At that time, his condition changed from a

complaint of zero pain, to ongoing complaints of severe pain -- 6 out of a scale of 1-10. It is

alleged that the Decedent's change in condition from experiencing no pain to severe pain,

constituted an emergency.    As a result, the Defendant Hospital's personnel were obligated by the

standards of care to immediately contact both the Defendants Buchness and Hearne, who were

then required to immediately see the Plaintiffs Decedent.       Had they done so, progression of the

dissection would have been diagnosed, requiring STAT surgical intervention.

        19.     Tragically, there was no intervention forthcoming whatsoever.         By 8:00 a.m., the

Plaintiffs Decedent was agitated, anxious, and uncooperative -- completely opposite from his

prior condition.   He then reported to the nurses (when they finally asked), that his pain had

progressed to 10 out of 10, and described it as the worst possible pain he had ever experienced.

Amazingly, in the face of this absolute surgical emergency, plans went on to discharge the

Plaintiffs Decedent to his home. In fact, he was seated on a gurney, attempting to dress himself

to leave the Defendant      Hospital, when he collapsed due to the progression            of the aortic

dissection.   As predicted, by that time any attempts at intervention proved fruitless, and the

Plaintiffs Decedent was pronounced dead at 11: 10 a.m. on March 17, 2007.

        20.     It is alleged that had these Defendants and each of them conformed with the

applicable standards of care, the Defendants Buchness and Hearne would have been contacted in




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a timely fashion, they would have responded on an emergent basis, and provided the Plaintiffs

Decedent with timely surgical intervention.        Had these Defendants and each of them conformed

with the standards of care as required, it is alleged that the Plaintiffs Decedent would have made

an uneventful recovery from surgery, and would have returned home to his family to resume all

of his normal activities. However, as the direct and proximate result of their ongoing negligence,

the Plaintiffs Decedent endured unending physical pain, emotional anguish, as well as fear and

anxiety, ultimately culminating in his untimely demise as referred to hereinabove.     Additionally,

the Plaintiffs Decedent incurred hospital, surgical, medical, pharmacological,   funeral, burial and

other losses and expenses for which claim is made.

        21.     The Plaintiff and Plaintiffs Decedent refer to the negligence of these Defendants

and each of them as the sole and proximate cause of all of the injuries, damages and ultimate

death of the Plaintiffs Decedent -- with the Plaintiff and Plaintiffs Decedent being in no way

contributorily negligent.

        22.     The amount     III   controversy    exceeds Thirty Thousand   Dollars ($30,000.00),

exclusive of interest and costs.

        23.     The negligence complained of occurred in Wicomico County. Venue is claimed

in United States District Court for the District of Maryland due to diversity of citizenship.

Jurisdiction   is conferred upon this Honorable Court based upon diversity of a citizenship

pursuant   to 28 U.S.C.,    Section     1332, and venue is conferred      by virtue of 28 U.S.c.,

Section 1391.


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                                                         ~D~~D. Cardea




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                                                    Schochor, Fede£o and Staton, P.A.
                                                    The Paulton
                                                    1211 St. Paul Street
                                                    Baltimore, Maryland 21202
                                                    (410) 234-1000

                                                    Attorneys for the Plaintiffs


                                                   COUNT II

        COMES NOW the Plaintiff, Chalee Dennis, by his attorneys, Jonathan                     Schochor,

 James D. Cardea, and Schochor, Federico and Staton, P.A. and sues, Steven E. Hearne, M.D.,

. Delmarva Heart, LLC, Michael P. Buchness, M.D., CV Surgical Associates, P.A., and Peninsula

 Regional Medical Center, Defendants:

         1.     The Plaintiff       incorporates    III   this Count those facts set forth in Count 1

 hereinabove   by reference thereto intending that each and every allegation hereinabove be

 deemed part hereof as if the same were repeated herein.

        2.      The Plaintiff alleges that he is the surviving son of the Plaintiffs          Decedent,

 Webster Dennis, Jr. As a result of the negligence of these Defendants, the Plaintiff asserts that

 the relationship he enjoyed with the Plaintiffs Decedent was destroyed.

        3.      The Plaintiff alleges that he has lost the love, support, guidance, advice and

 comfort furnished by his beloved father as the result of the negligence of these Defendants. The

 death of his father represents a tragedy from which he will never recover.

        4.      The amount in controversy             exceeds Thirty Thousand      Dollars ($30,000.00),

 exclusive of interest and costs.

        5.      The negligence complained of occurred in Wicomico County. Venue is claimed

 in United States District Court for the District of Maryland due to diversity of citizenship.



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Jurisdiction   is conferred upon this Honorable Court based upon diversity of a citizenship

pursuant   to 28 U.S.c.,   Section   1332, and venue is conferred      by virtue of 28 U.S.c.,

Section 1391.




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                                            Attorneys for the Plaintiffs




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